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    7 POWERLINE FUNDING LLC

    8
                       IN THE UNITED STATES DISTRICT COURT
    9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10                           SOUTHERN DIVISION

   11 MARIANO BENITEZ, individually

   12 and on behalf of others similarly             Case No. 8:19-cv-00098
        situated,
   13                                               DEFENDANT POWERLINE
   14               Plaintiff,                      FUNDING LLC’S REPLY BRIEF IN
                                                    SUPPORT OF ITS MOTION TO
   15         vs.                                   DISMISS THE CLAIMS OF ALL
   16                                               PUTATIVE NON-CALIFORNIA
        POWERLINE FUNDING LLC, a New                CLASS MEMBERS, OR IN THE
   17 York limited liability company,               ALTERNATIVE, TO STRIKE
   18                                               PLAINTIFF’S CLASS
                    Defendants.                     ALLEGATIONS
   19

   20                                               Date:        June 7, 2019
                                                    Time:        10:30 a.m.
   21                                               Judge:       Hon. Josephine L. Staton
   22                                               Location:    Courtroom 10A
   23

   24

   25

   26

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   28

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    1                                    INTRODUCTION
    2
              The district courts are split on whether Bristol-Myers applies to class actions.
    3
        Unsurprisingly, Plaintiff urges this Court to side with those courts that have
    4

    5 circumvented application of Bristol-Myers, and found specific jurisdiction exists

    6 over out-of-state plaintiffs’ claims that have no connection to the defendant’s

    7 contacts to the forum. However, the justifications employed by those

    8
        decisions―and summarily discussed by Plaintiff in his Opposition―are not well-
    9
        reasoned and thus unpersuasive. Rather, these justifications rely on distinctions that
   10
        plainly ignore the constitutional limits on personal jurisdiction or miss the point of
   11

   12 Bristol-Myers entirely. Bristol-Myers explains that the exercise of specific

   13 jurisdiction requires a connection between each plaintiffs’ claim and the forum state,

   14 which Plaintiff readily admits is absent here. And there is simply nothing in the

   15
        Bristol-Myers opinion that provides any plausible or justifiable grounds for
   16
        distinguishing class actions from the “mass action” that was before the Supreme
   17
        Court. Plaintiff’s urging of some kind of lesser due process requirement in the class
   18

   19 context should be rejected, as courts have explained that the constitutional

   20 requirements of due process do not “wax and wane” depending on whether the

   21 complaint is individual or on behalf of a class; personal jurisdiction in either case

   22
        must comport with due process. In re Dental Supplies Antitrus Litig. 2017 WL
   23
        4217115, at *9 (E.D.N.Y Sept. 20, 2017). For these reasons, this Court should side
   24
        with the growing number of well-reasoned decisions that have applied Bristol-Myers
   25

   26 to the class context and dismiss the claims of the nonresident class members.

   27         Bristol-Myers aside, Plaintiff argues that this Court can nonetheless exercise
   28 personal jurisdiction over Powerline with respect to the claims of nonresident class
                                                 1
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    1 members under the pendent personal jurisdiction doctrine simply because those

    2 claims share factual similarities with Plaintiff’s claims. But this argument is

    3
        unavailing for three reasons. First, the pendent jurisdiction doctrine is plainly
    4
        inapplicable to this case. Second, expanding the pendent jurisdiction doctrine to
    5

    6
        cases like this would blur the line between general and specific jurisdiction in

    7 contravention of established personal jurisdiction principles. And third, the Supreme

    8 Court squarely rejected Plaintiff’s bootstrapping argument―that one person’s

    9 claims can supply the jurisdictional contacts necessary to support jurisdiction over

   10
        another person’s claims―in Bristol-Myers.
   11
              Finally, Plaintiff suggests that Powerline will suffer no burden if the Court
   12

   13
        exercises personal jurisdiction over it with respect to the claims of nonresident class

   14 members. But this ignores the constitutional limits on personal jurisdiction and the

   15 real burdens Powerline will undoubtedly face if forced to defend against a

   16 nationwide class action.

   17
              Simply put, Plaintiff offers no persuasive reason to circumvent application of
   18
        the settled principles of personal jurisdiction announced in Bristol-Myers.
   19

   20
        Powerline’s motion should therefore be granted.

   21                                       ARGUMENT
   22 I.      This Court Should Join With The Well-Reasoned Decisions Applying
   23
              Bristol-Myers To The Class Context And Dismiss The Nonresident Class
              Members’ Claims For Lack Of Personal Jurisdiction
   24
              District courts around the country are split on whether Bristol-Myers applies
   25

   26 to class actions. Plaintiff cites to decisions that have opted not to apply Bristol-

   27 Myers to the class context and urges this Court to side with those opinions. (Opp. at

   28
                                                    2
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    1 2-4.) However, the justifications offered by these courts to circumvent the

    2 application of Bristol-Myers are based on distinctions that ignore the constitutional

    3
        limits on personal jurisdiction (e.g., party/nonparty, class action/mass action) or they
    4
        miss the point entirely. Thus, for the reasons discussed below, this Court should join
    5

    6
        the growing number of well-reasoned opinions applying Bristol-Myers to the class

    7 context and dismiss the claims of the nonresident class members.

    8         A.     The party/nonparty distinction ignores the constitutional limits on
    9
                     personal jurisdiction

   10         As Plaintiff points out, some courts have refused to apply Bristol-Myers in the
   11 class context because they have viewed the unnamed class members as not true

   12
        “parties” to the case, and thus their claims should not be considered when
   13
        determining personal jurisdiction. (See Opp. at 2-3.) But this analysis is based on
   14
        flawed reasoning and is thus unpersuasive. Although those courts correctly point out
   15

   16 that unnamed class members may be “parties” for some purposes, but not for others,

   17 and that courts routinely do not take unnamed class members into account for the

   18 purpose of determining diversity of citizenship for other procedural purposes, these

   19
        reasons do not justify diluting the due process rights of a defendant. For instance,
   20
        special rules for diversity jurisdiction implicate the federal’s court’s power and
   21
        jurisdiction, not the individual liberty interests of defendants. In contrast, nonnamed
   22

   23 plaintiffs should be considered parties for personal jurisdiction purposes because

   24 personal jurisdiction concerns a defendant’s own personal right to constitutional due

   25 process. See Ins. Corp. of Ir. v. Compagnie des Bauxites de Guinee, 456 U.S. 694,

   26
        702 (1982) (“The personal jurisdiction requirement recognizes and protects an
   27
        individual liberty interest. It represents a restriction on judicial power not as a matter
   28
                                                     3
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    1 of sovereignty, but as a matter of individual liberty.”). The question here is not

    2 whether this Court has subject matter jurisdiction, or the power to adjudicate class

    3
        actions, but whether, consistent with the constitutional limits of due process, this
    4
        Court may exercise specific personal jurisdiction over Powerline with respect to
    5

    6
        claims that have no connection to California. And the focus of this due process

    7 inquiry is on whether Powerline’s contacts with the state of California give rise to

    8 the claims of the non-California putative class members. Bristol-Myers, 137 S.Ct. at

    9 1781. It makes no difference, for the purposes of this due process analysis, that the

   10
        putative unnamed class members are nominally “absent” before certification―their
   11
        claims are not. Specific jurisdiction is a “defendant-focused inquiry,” requiring a
   12

   13
        direct and substantial “relationship among the defendant, the forum, and the

   14 litigation.” Walden v. Fiore, 571 U.S. 277, 284 (2014) (quotations omitted). As the

   15 Supreme Court concluded, a plaintiff must establish a “connection between the

   16 forum and the specific claims at issue.” Brisol-Myers, 137 S.Ct. at 1781. Ignoring

   17
        Bristol-Myers in the class context would simply be an end-run around its
   18
        constitutional holding, allowing plaintiffs to force courts to adjudicate claims with
   19

   20
        no connection to the forum simply by placing an in-state representative at the head

   21 of the class. It is unlikely that the Supreme Court will allow these kind of procedural

   22 machinations to circumvent its ruling.

   23         Unsurprisingly, many other courts have rejected this party/nonparty analysis,
   24
        recognizing that the distinction is without a difference with respect to the
   25
        constitutional limits of personal jurisdiction. See e.g., Chavez v. Church & Dwight
   26

   27
        Co., Inc., 2018 WL 2238191, at *11 (N.D. Ill. May 16, 2018) (finding “the reliance

   28 of some district courts on the fact that the citizenship of unnamed class members is
                                                   4
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    1 disregarded for purposes of determining diversity” unpersuasive and applying

    2 Bristol-Myers). This Court should join those well-reasoned decisions in rejecting the

    3
        unpersuasive party/nonparty distinction and apply Bristol-Myers to this case.
    4
              B.     Rule 23 does not supplant Powerline’s due process rights
    5

    6         Plaintiff also cites to a Louisiana district court that differentiated class actions

    7 from mass actions based on the “additional due process standards” and “safeguards”

    8 provided under Rule 23 of the Federal Rules of Civil Procedure. (Opp. at 3 (citing In

    9
        re Chinese-Mfgd. Drywall Prod. Liab. Litig., 2017 WL 5971622, at *4 (E.D. La.
   10
        Nov. 30, 2017).) But this analysis misses the point. Rule 23 offers no substantive
   11
        due process protections to defendants whatsoever and cannot otherwise be invoked
   12

   13 to expand a court’s personal jurisdiction. Rule 23’s “procedural protections” are

   14 instead designed “to protect the rights of absent class members.” Ortiz v.

   15 Fibreboard Corp., 527 U.S. 815, 847 (1999) (discussing notice and opt-out

   16
        procedures) (emphasis added). Those protections ensure that class members are not
   17
        bound by judgments extinguishing their individual claims without (among other
   18
        things) notice and adequate representation. Id. at 848, n. 24. But that does nothing to
   19

   20 protect the due process rights of defendants. The same is true of Rule 23’s other

   21 criteria. Powerline’s due process rights are not protected by requiring Plaintiff to

   22 prove that his putative class is “numerous”; that “common” questions will

   23
        “predominate” over “individual” issues; or that “a class action is superior to other
   24
        available methods.” Fed. R. Civ. P. 23(a)-(b). Even if these class requirements
   25
        contribute to procedural fairness, they are no substitute for the safeguards of due
   26

   27 process. The constitutional protections for defendants cannot be lessened simply

   28
                                                    5
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    1 because plaintiffs in class actions must, by rule, satisfy the procedural requirements

    2 of certifying a class.

    3
              Nor can Rule 23 be interpreted or applied to curtail Powerline’s substantive
    4
        due process rights or to expand this Court’s jurisdiction. Indeed, the Supreme Court
    5

    6
        has emphasized that “Rule 23’s [class] requirements must be interpreted in keeping

    7 with Article III constraints, and with the Rules Enabling Act, which instructs that

    8 the [federal] rules of procedure ‘shall not abridge, enlarge, or modify any

    9 substantive right.’ ” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 592 (1997)

   10
        (quoting 28 U.S.C. § 2072(b).) Holding that defendants’ rights vary in mass actions
   11
        as opposed to class actions runs afoul of the Rules Enabling Act, as Rule 23 simply
   12

   13
        cannot alter Powerline’s substantive rights. See e.g., Practice Mgmt. Support

   14 Services, Inc. v. Cirque du Soleil, Inc., 301 F. Supp. 3d 840, 861-62 (N.D. Ill. 2018)

   15 (“[I]t is not clear how [plaintiff] can distinguish the Supreme Court’s basic holding

   16 in Bristol-Myers simply because this is a class action . . . Under the Rules Enabling

   17
        Act, a defendant's due process interest should be the same in the class context.”).
   18
        Accordingly, this Court should join the well-reasoned decisions that have rejected
   19

   20
        this argument and apply Bristol-Myers to this case.

   21         C.     The same interstate sovereignty and federalism concerns
                     underpinning Bristol-Myers are present here
   22

   23         Plaintiff also cites to decisions that suggest the interstate sovereignty and
   24 federalism concerns highlighted in Bristol-Myers are not present in matters where a

   25 federal question is pending and the case is in federal court. (See Opp. at 3.) This

   26
        argument simply misses the mark and bucks settled personal jurisdiction principles.
   27

   28
                                                    6
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    1           Bristol-Myers indeed explains that because its decision only “concerns the
    2 due process limits on the exercise of specific jurisdiction by a State, we leave open

    3
        the question whether the Fifth Amendment imposes the same restrictions on the
    4
        exercise of personal jurisdiction by a federal court.” Bristol-Myers, 137 S.Ct. at
    5

    6
        1783-84.1 But whether or not there would be constitutional limits on the exercise of

    7 personal jurisdiction by federal courts under the Fifth Amendment is, at this point,

    8 purely hypothetical, as the Federal Rules of Civil Procedure require federal courts to

    9 rely on state law, subjecting them to the very same constitutional limits on state

   10
        courts under the Fourteenth Amendment articulated in Bristol-Myers. See Fed. R.
   11
        Civ. P. 4(k)(1). This Rule establishes that a federal court, no less than a state court,
   12

   13
        simply cannot exert personal jurisdiction over a defendant unless the defendant has
                                                              2
   14 minimum contacts with the state in which the court sits. Indeed, many of the

   15 Supreme Court’s most important Fourteenth Amendment Due Process cases have

   16 arisen out of federal court litigation. See, e.g., Daimler AG v. Bauman, 571 U.S.

   17
        117, 120-21 (2014) (federal question case); Burger King Corp. v. Rudzeqicz, 471
   18

   19
        1
   20    As other courts have explained, the Supreme Court leaving this issue open should
        not be confused with it determining (or even hinting) that Bristol-Myers would
   21   somehow not apply in federal court. Fitzhenry-Russell v. Dr. Pepper Snapple Grp.,
   22   Inc., 2017 WL 4224723, at *4 (N.D. Cal. Sept. 22, 2017) (“Fitzhenry-Russell
        confuses the Supreme Court’s leaving the issue . . . open with the Supreme Court
   23   affirmatively stating that Bristol-Myers necessarily would not apply to federal
   24   courts. Because the Bristol-Myers fact pattern did not involve a federal court, there
        was no reason for the Supreme Court to confront that issue.”)
   25   2
            Rule 4(k)(2) provides for a limited exception: where Congress provides for
   26 nationwide jurisdiction by statute, the rule allows for nationwide service of process

   27
        upon defendants. As explained herein, the claims at issue here do not allow for
        nationwide service of process so the exception does not apply.
   28
                                                     7
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    1 U.S. 462, 464 (1985) (diversity case). And this of course is nothing new, as personal

    2 jurisdiction in federal courts has been linked to state borders going all the way back

    3
        to 1789.3 So it may very well be that Rule 4(k) constrains the exercise of personal
    4
        jurisdiction more than the Constitution would otherwise require, but the result
    5

    6
        nonetheless stands. Rule 4(k) thus mandates that federal courts apply the Fourteenth

    7 Amendment’s analysis requiring that a defendant have minimum contacts with the

    8 state in which the court sits, be it state or federal court. Plaintiff simply asks this

    9 Court to overlook or ignore Rule 4(k), but unless and until Congress acts, or there is

   10
        a change to the Federal Rules, the personal jurisdictional reach of federal courts are
   11
        tied to the jurisdictional reach of the states in which they sit, and thus Bristol-Myers
   12

   13
        fully applies to state and federal courts. See Omni Capital Int'l, Ltd. v. Rudolf Wolff

   14 & Co., Ltd., 484 U.S. 97, 106 (1987) (“Congress knows how to authorize

   15 nationwide service of process when it wants to provide for it. That Congress failed

   16 to do so here argues forcefully that such authorization was not its intention.”).

   17
                 And so as Powerline pointed out in its Motion, pursuant to Rule 4(k), this
   18
        Court must look to California law for the limitation on the exercise of personal
   19

   20
        jurisdiction because the federal statute under which Plaintiff sues―the TCPA―does

   21 not authorize nationwide service of process to establish personal jurisdiction. (See

   22 Motion, Dkt. No. 28 at 3-4.) This Court's personal jurisdiction over Powerline is

   23 thus coextensive with that of a California court.4 As a result, the Fifth Amendment

   24

   25   3
            See Judiciary Act of 1789, ch. 20 § 11, 1 Stat. 73, 79 (“And no civil suit shall be
   26 brought before [the lower federal courts] against an inhabitant of the United States,

   27
        by any original process in any other district than that whereof he is an inhabitant.”).
        4
            See e.g., Rinky Dink, Inc. v. Elec. Merch. Sys. Inc., 2014 WL 12103245, at *1, fn.
   28
        (footnote continued)
                                                      8
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    1 does not dictate the parameters of due process in this case. See Roy v. FedEx

    2 Ground Package Sys., Inc., 353 F. Supp. 3d 43, 56 (D. Mass. 2018) (“[B]ecause the

    3
        FLSA does not authorize nationwide service of process . . . this [c]ourt looks to
    4
        [Massachusetts] law and the Due Process Clause of the Fourteenth Amendment for
    5

    6
        the applicable limits on its exercise of personal jurisdiction . . . Consequently, the

    7 Fifth Amendment does not dictate the parameters of due process in this case.”)

    8 (internal quotations and citations omitted). As in Bristol-Myers, the primary focus of

    9 this personal jurisdiction inquiry is Powerline's relationship with the forum state.

   10
        See Bristol-Myers, 137 S.Ct. at 1779-80. So whether the same interstate sovereignty
   11
        and federalism concerns noted by the Supreme Court in Bristol-Myers apply to the
   12

   13
        same degree in federal court is really beside the point. Federal courts are bound by

   14 Bristol-Myers because the Federal Rules, and particularly Rule 4(k)(1), require them

   15 to apply it.

   16         Plaintiff quotes from Sloan v. General Motors LLC for the notion that the
   17
        same interstate sovereignty concerns animating Bristol-Myers simply don’t apply
   18
        when a federal court presides over a federal question. (Opp. at 3.) But again, that
   19

   20
        analysis simply misses the mark. It may very well be that the interstate federalism

   21 concerns play out differently in federal court, but at this point that is a purely

   22 hypothetical question as federal courts are bound to apply Bristol-Myers by

   23 operation of the Federal Rules as outlined above. See Muir v. Nature’s Bounty (DE),

   24

   25
      1 (W.D. Wash. Nov. 4, 2014 ("The TCPA, the federal statute at issue, does not
      provide for nationwide service of process. 47 U.S.C. § 227(e)(6)(E)(ii). . . In the
   26 absence of a federal cause of action governing personal jurisdiction, the Court

   27
      applies Washington law.") (citing Schwarzenegger v. Fred Martin Motor Co., 374
      F.3d 797, 800 (9th Cir. 2004)).
   28
                                                    9
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    1 Inc., 2018 WL 3647115, at *4 (N.D. Ill. Aug. 1, 2018) (acknowledging the

    2 argument articulated in Sloan, but explaining that the Federal Rules of Civil

    3
        Procedure require federal courts to apply the personal-jurisdiction law of the states
    4
        in which they sit, thus subjecting them to the constitutional limits articulated in
    5

    6
        Bristol-Myers).

    7         Accordingly, this Court should side with the courts that have applied Bristol-
    8 Myers to federal class actions. See e.g., Am.'s Health & Res. Ctr., Ltd. v.

    9 Promologics, Inc., 2018 WL 3474444, at *2-4 (N.D. Ill. July 19, 2018) (collecting

   10
        cases).
   11
              D.     The rationale of Bristol-Myers should apply to class actions
   12

   13
              Finally, Plaintiff argues that Bristol-Myers should not be applied to class

   14 actions because the Supreme Court did not expressly address the question of

   15 whether its rationale could be applied in the class context and because Bristol-Myers

   16 did not inaugurate a change in law. (Opp. at 5.) But this argument is unavailing. The

   17
        Supreme Court did not address the question of whether its opinion would apply to a
   18
        class action because that issue was not before the Court. See Bristol-Myers, 137
   19

   20
        S.Ct. at 1779. And the Supreme Court's characterization of its rationale as a

   21 "straightforward application . . . of settled principles of personal jurisdiction" does

   22 not limit its application to mass torts. As subsequent courts have recognized,

   23 "[n]othing in Bristol-Myers suggests that its basic holding is inapplicable to class

   24
        actions." See e.g., Chavez, 2018 WL 2238191 at *10. That is because Bristol-Myers
   25
        announced a general principle of due process—in cases involving specific
   26

   27
        jurisdiction, there must be a connection between the forum and each plaintiff's

   28 claim. See Bristol-Myers, 137 S.Ct. at 1781. And courts ordinarily apply the same
                                                10
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    1 jurisdictional rules to class actions as they do individual actions. See In re Dental

    2 Supplies Antitrus Litig., 2017 WL 4217115 at *9 ("The constitutional requirements

    3
        of due process do not wax and wane when the complaint is individual or on behalf
    4
        of a class. Personal jurisdiction in class actions must comport with due process just
    5

    6
        the same as any other case."). The Court’s demand of a link between the forum state

    7 and each out-of-state plaintiffs’ claim holds true in individual, mass, or class

    8 actions. Bristol-Myers applied settled principles of due process and personal

    9 jurisdiction to reject the very same bootstrapping argument advanced by Plaintiff—

   10
        that one person’s claims can supply the jurisdictional contacts necessary to support
   11
        jurisdiction over another person’s claims. (See Opp. at 5, 7.) Plaintiff offers no
   12

   13
        persuasive reason for why these same "settled principles of personal jurisdiction"

   14 should not apply with equal force to the class action context.

   15 II.     The Pendent Personal Jurisdiction Doctrine Is Inapplicable
   16
              Plaintiff also argues that this Court can properly exercise pendent personal
   17
        jurisdiction over Powerline as to the claims of the nonresident class members, even
   18
        if it would not otherwise have personal jurisdiction over those claims. (Opp. at 5.)
   19

   20 However, Plaintiff’s reliance on the pendent personal jurisdiction doctrine is

   21 misplaced.

   22         Pendent personal jurisdiction applies when a single party asserts multiple
   23
        claims arising from the same transaction, and courts have nationwide personal
   24
        jurisdiction over at least one of those claims based on a federal law authorizing
   25
        nationwide service of process. See Action Embroidery Corp. v. Atl. Embroidery,
   26

   27 Inc., 368 F.3d 1174, 1180 (9th Cir. 2004). Yet here, Plaintiff is seeking pendent

   28 jurisdiction over the separate TCPA claims of other individuals that admittedly have
                                               11
             REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, TO STRIKE CLASS
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    1 no connection to California, even though the TCPA does not provide for nationwide

    2 service of process. (Opp. at 5.) Plaintiff’s attempt to turn a well-established pendent

    3
        claim doctrine into some kind of pendent party doctrine should be rejected. Plaintiff
    4
        offers no sound authority to support such an unwarranted extension of pendent
    5

    6
        personal jurisdiction, which would blur the distinction between general and specific

    7 jurisdiction, circumvent the due process rights of Powerline, and require Powerline

    8 to defend claims in California that did not arise out of its activities in that forum.

    9         Moreover, the Supreme Court squarely rejected Plaintiff’s bootstrapping
   10
        argument. (See Opp. at 5.) As it explained in Bristol-Myers:
   11
              “The mere fact that other plaintiffs were prescribed, obtained, and
   12         ingested Plavix in California—and allegedly sustained the same
   13         injuries as did the nonresidents—does not allow the State to assert
              specific jurisdiction over the nonresidents’ claims. As we have
   14
              explained, ‘a defendant’s relationship with a third party, standing alone,
   15         is an insufficient basis for jurisdiction.’ This remains true even when
              the third parties (here, the plaintiffs who reside in California) can bring
   16
              claims similar to those brought by the nonresidents.”
   17
        Bristol-Myers, 137 S.Ct at 1781 (internal citation omitted). Thus, “even if the
   18

   19 doctrine at one time permitted the court to exercise personal jurisdiction over a

   20 claim like [the nonresident Plaintiff’s], it no longer does in light of Bristol–Myers.”

   21 Greene v. Mizuho Bank, Ltd., 289 F. Supp. 3d 870, 875 (N.D. Ill. 2017).

   22
              Plaintiff’s reliance on Action Embroidery, a pendent claim—not pendent
   23
        party—case, is misplaced. (Opp. at 5.) In Action Embroidery, the Ninth Circuit
   24
        determined the District Court had pendent personal jurisdiction with respect to state-
   25

   26 law claims when the court had jurisdiction as to the Clayton Act anchor claim

   27 through a nationwide service provision. Action Embroidery, 368 F.3d at 1180-81.

   28 This is an entirely unremarkable application of pendent claim jurisdiction. But the
                                                12
             REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, TO STRIKE CLASS
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    1 Plaintiff’s mistake in this case is attempting to translate the rationale of pendent

    2 claim jurisdiction to pendent parties, a result wholly foreclosed by Bristol-Myers.5

    3
        III.    Plaintiff’s “Burden” Argument Ignores The Constitutional Limits On
    4           Personal Jurisdiction And The Clear Burdens Powerline Will Face
    5           Defending A Nationwide Class Action

    6           Plaintiff argues that this Court should nonetheless exercise personal
    7 jurisdiction over Powerline as to the claims of the nonresident class members

    8
        because Powerline would not be burdened by defending those claims in California.
    9
        (Opp. at 6-7.) As an initial matter, Plaintiff’s argument is beside the point―due
   10
        process fully protects a defendant even if it “would suffer minimal or no
   11

   12 inconvenience from being forced to litigate” before a court lacking specific personal

   13 jurisdiction. Bristol-Myers, 137 S. Ct. at 1780-81. Plaintiff’s emphasis on

   14 convenience, burden, and fairness thus turns the constitutional analysis on its head.

   15
        A court must first determine whether it has personal jurisdiction without regard to
   16
        convenience or burden; only then does it consider such factors in determining
   17
        whether it ought to actually exercise such jurisdiction. Pebble Beach Co. v. Caddy,
   18

   19 453 F.3d 1151, 1154 (9th Cir. 2006); Forsythe v. Overmyer, 576 F.2d 779, 782 (9th

   20

   21   5
            Again, Sloan makes the same mistake. Sloan v. General Motors LLC, 287 F. Supp.
   22 3d 840, 858-59 (N.D. Cal. 2018) (conflating pendent claim jurisdiction with pendent

   23
        party jurisdiction). And as explained above, Sloan’s mistake is rooted in its belief
        that Bristol-Myers only applies in state courts, not federal courts. Id. But again this
   24   ignores Federal Rule of Civil Procedure 4(k). And once one acknowledges that
   25
        Bristol-Myers applies in federal court to the same extent as state court, then even the
        Sloan court would agree that pendent party jurisdiction is disallowed under Bristol-
   26   Myers. Id. (acknowledging its decision is in tension with Bristol-Myers, but
   27
        determining Bristol-Myers does not apply in federal courts, only state courts, and
        thus allowing pendent party jurisdiction).
   28
                                                    13
               REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, TO STRIKE CLASS
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    1 Cir. 1978). This is a two-step analysis, yet Plaintiff would have the second step

    2 determine the first.

    3
              In any event, Plaintiff’s suggestion that defending a nationwide class action
    4
        imposes no additional burdens on a defendant blinks reality. As a TCPA action,
    5

    6
        Powerline’s individualized consent-based defenses will need to be examined as to

    7 each putative class member. The task of analyzing the viability of each of those

    8 defenses, claimant-by-claimant, undoubtedly grows more burdensome as the class

    9 expands. And Powerline would be required to undertake this exercise in a distant

   10
        forum with no connection to many, if not most, of those class members’ claims.
   11
        Moreover, the prospect of a nationwide class liability exponentially increases the
   12

   13
        pressure on defendants to settle even meritless claims. As the Supreme Court has

   14 long recognized, “the class issue―whether to certify, and if so, how large the class

   15 should be―will often be of critical importance to defendants” because

   16 “[c]ertification of a large class may so increase the defendant’s potential damages

   17
        liability and litigation costs that [it] may find it economically prudent to settle and to
   18
        abandon a meritorious defense.” Coopers & Lybrand v. Livesay, 437 U.S. 463, 476
   19

   20
        (1978).

   21          Plaintiff nonetheless suggests that Powerline should anticipate being hauled
   22 into court in California to defend against claims brought by non-California residents

   23 arising out of conduct it directed towards other forums solely because it directed

   24
        some activity to California and Plaintiff’s individual claim arises out of that activity.
   25
        (See Opp. at 7.) Again, this is tantamount to the bootstrapping argument the
   26

   27
        Supreme Court squarely rejected in Bristol-Myers; and it otherwise flies in the face

   28
                                                    14
             REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, TO STRIKE CLASS
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    1 of established personal jurisdiction principles by conflating general jurisdiction with

    2 specific jurisdiction.

    3
               Plaintiff also suggests that applying Bristol-Myers to class actions would lead
    4
        to the possibility of “duplicative proceedings in as many as 49 other states, all
    5

    6
        concerning the exact same activity challenged under the exact same federal law.”

    7 (Opp. at 7.) But the Supreme Court in Bristol-Myers rejected this same “parade of

    8 horribles.” 137 S.Ct. at 1783-84. The Court observed that its decision did not

    9 “prevent the California and out-of-state plaintiffs from joining together in a

   10
        consolidated action in the States that have general jurisdiction over BMS.” Id. The
   11
        Court also observed that the “plaintiffs who are residents of a particular State―for
   12

   13
        example, the 92 plaintiffs from Texas and the 71 from Ohio―could probably sue

   14 together in their home States.” The same can be said here. Limiting nationwide class

   15 actions to general jurisdiction forums still allow resident and nonresident plantiffs to

   16 join together to pursue a nationwide action in the defendant’s home states, and it

   17
        does not stop such plaintiffs from bringing statewide actions in their home states.
   18
        See id.
   19

   20
        IV.    Powerline's Motion To Strike Is Not Premature

   21          Finally, Plaintiff argues that Powerline’s motion to strike Plaintiff’s class
   22 allegations in the alternative is premature. (Opp. at 8.) However, Rule 12(f) grants

   23 courts the authority to strike class allegations where, as here, the putative class has

   24
        no chance of being certified. See Am. W. Door & Trim v. Arch Specialty Ins. Co.,
   25
        2015 WL 1266787, at *3 (C.D. Cal. Mar 18, 2015). Applying Bristol-Myers to the
   26

   27
        case at bar, it’s clear that this Court lacks personal jurisdiction over Powerline as to

   28 the claims of the nonresident class members. It would be far more efficient to trim
                                               15
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    1 the putative class of these nonresident members at this stage of the litigation than to

    2 wait until the class certification stage to do so. Accordingly, the Court should strike

    3
        Plaintiff’s nationwide class allegations to exclude the claims of all putative
    4
        nonresident class members for which the Court cannot exercise personal jurisdiction
    5

    6
        over Powerline.

    7                                        CONCLUSION
    8          For the reasons set forth above, Powerline respectfully requests that the Court
    9 grant its motion to dismiss the claims of all putative non-California class members

   10
        or, in the alternative, strike Plaintiff’s class allegations.
   11
                                                    Respectfully submitted,
   12

   13 Dated: May 24, 2019                          Defendant Powerline Funding LLC
   14
                                                   By: /s/ Alan M. Ritchie
   15                                                     One of its Attorneys
   16
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                                                      16
             REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, TO STRIKE CLASS
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    1                             CERTIFICATE OF SERVICE
    2         Alan M. Ritchie, an attorney, certifies that on May 24, 2019, he electronically
    3
        filed the foregoing document with the Clerk of the Court by using the CM/ECF
    4
        system, which will send a notice of electronic filing to all attorneys of record.
    5

    6
                                                        /s/ Alan M. Ritchie

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             REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, TO STRIKE CLASS
                                                                                    ALLEGATIONS
